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                                              Case: 1:22−mc−00047
                                              Assigned To : Kollar−Kotelly, Colleen
                                              Assign. Date : 5/4/2022
                                              Description: Misc.
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